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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


   PARAGON DATA SYSTEMS, INC.                    )    CASE NO.:
   2218 Superior Avenue                          )
   Cleveland, Ohio 44114
                                                 )
     Plaintiff,                                  )    JUDGE
                                                 )
     v.
                                                 )
   SPECTRUM HEALTH SYSTEM,                            COMPLAINT
                                                 )
   c/o David M. Leonard                               (JURY DEMAND ENDORSED HEREON)
                                                 )
   221 Michigan St. NE, Suite 501
   Grand Rapids, MI 49503                        )
                                                 )
     and
                                                 )
   JOHN DOES 1 THROUGH 5                         )
                                                 )
     and
                                                 )
   ABC CORPORATION                               )

     Defendants.                                 )




       Plaintiff Paragon Data Systems, Inc. (“Paragon” or “Plaintiff”), by and through its

undersigned attorneys, for its Complaint herein, states as follows:

             GENERAL STATEMENT OF THE NATURE OF THIS ACTION

       This action is brought by Paragon to recover damages caused by Defendant Spectrum

Health System (“Spectrum” or “Defendant”)            and perhaps others acting in concert with

Defendant for breach of contract/tortious interference with contract including as a result of the

disclosure of Paragon’s proprietary technology as described further below.
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                                              PARTIES

       1.         Plaintiff Paragon is an Ohio corporation with its principal place of business

located in Cleveland, Ohio. Paragon was, at all relevant times, engaged in the business of

integration of software solutions for companies with data collection requirements. Paragon

designs, creates and re-sells software solutions, including barcodes, tags, and labels for a

variety of industries and uses.

       2.         Defendant Spectrum is a large multispecialty physician group in Western

Michigan. Defendant’s corporate address is 100 Michigan St. NE, Grand Rapids, MI 49503.

                       BACKGROUND AND GENERAL ALLEGATIONS

       3.         Effective December 4, 2012, Paragon and Spectrum entered into a contract

entitled “SafeBaby Breast Milk Tracking Software System MASTER LICENSE AND

SERVICES AGREEMENT” (the “Agreement”), a true and correct copy of which is attached

hereto as Exhibit A. The Agreement gave Spectrum access to what was described therein as

the “SafeBaby Breast Milk Tracking Software System” (the “Paragon System”), which

integrated Paragon’s proprietary software with certain hardware to achieve Spectrum’s

desired result.

         4.       Being satisfied with the performance of the Paragon System, Spectrum continued

 to renew the Agreement annually.

       5.         Pursuant to the Agreement, Spectrum agreed and acknowledged, at Article II,

Section 1:

                  Paragon developed and owns, and continues to develop and own, certain
                  proprietary software for use in connection with the products and services
                  delivered under the Agreement (the “Software”).


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       6.      Pursuant to Article II, Section 2 of the Agreement, Paragon and Spectrum agreed

that Paragon’s proprietary “Software” included:

               ... (iii) the Software, including its underlying technology, software,
               object and source code, processes, methods, algorithms, user interfaces,
               know-how and other trade secrets, techniques, designs, discoveries,
               inventions, structure, features, components, and other tangible or
               intangible technical material or information; and

               (iv) the work product, and any other work of authorship or invention
               conceived of, developed, or created by Paragon during this Agreement
               (or any addendum thereto) that relates to the Software, including any
               Customer specifications for the Software, is and shall remain the
               exclusive property of Paragon (the “Paragon Technology”). Customer
               further agrees and acknowledges that the Paragon Technology is or may
               become protected by intellectual property rights owned or licensed by
               Paragon (collectively the “Paragon IP Rights”). Other than as expressly
               set forth in this Agreement, no license or other rights in or to the Paragon
               Technology or the Paragon IP Rights are granted to Customer, and all
               such licenses and rights are hereby expressly reserved by Paragon.

       7.      To protect Paragon’s rights to its intellectual property, the parties to the

Agreement specifically agreed to restrict Spectrum’s disclosure of the “Paragon Technology”

as stated in Article III, Section 2:

               Under no circumstances may Customer, without prior written
               permission from Paragon ... (ii) directly or indirectly provide access to
               the Paragon Technology to a third party; (iii) copy or permit a third party
               to copy the Paragon Technology; or (iv) duplicate, examine, adapt, merge,
               embed, decompile, disassemble, “un-lock”, reverse engineer, or create a
               derivative work from any of the Paragon Technology.

       8.      Further, pursuant to the Agreement, Paragon was to provide, and did provide, to

Spectrum certain Software and Equipment for Spectrum’s use at specific business locations

identified on Schedule “A” to the Agreement.

       9.      Spectrum also agreed that Paragon would be Spectrum’s exclusive supplier for

“all bar code supplies, SafeBaby Bottle labels, SafeBaby Syringe labels, and all replacement
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parts, spare parts, and attachments and accessories (collectively referred to as “Bar Code

Products”) which are used in the operation of the Software and Equipment listed on Schedule

B” for the duration of the Agreement. See Exhibit A, Article VIII, Section 1.

       10.     Finally, pursuant to Article I, Sections 1-2 of the Agreement, the parties agreed

that the Agreement would automatically renew for a one-year period on December 4 of each

year “unless Paragon and/or Customer provide written notice of its intent to not renew this

Agreement and/or the service portion of this Agreement at least sixty (60) days in advance of

the then-current term.”

       11.     Spectrum and Paragon agreed that written notice of intent not to renew the

Agreement or any portion thereto “shall be delivered by prepaid U.S. Certified Mail, overnight

courier, or via Facsimile” and notice was effective only “upon receipt by the party if sent by U.S.

Certified Mail. . . .” See Exhibit A, Article XV, Section 2.

       12.     Paragon did not waive any of its right under this Agreement. Specifically,

Article XV, Section 7 of the Agreement states that “no failure to exercise and no delay in

exercising any right, power, or privilege under this Agreement on the part of either party shall

operate as a waiver of any right, power, or privilege under this Agreement . . . [and] the various

deadlines for the performance of certain acts provided in this Agreement are mandatory and

cannot be waived, unless in writing by Paragon and Customer.”

       13.     On October 14, 2020, Paragon received a letter (the “Letter”) from Spectrum

stating that Spectrum intended to terminate the Agreement. A true and accurate copy of the

Letter with tracking information showing the date Paragon received the letter is attached

hereto as Exhibit B and incorporated herein by reference.
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        14.    After receipt of the Letter, Paragon sent a response letter to Spectrum (the

“Response Letter”) notifying Spectrum that the Agreement had automatically renewed for one

(1) year from December 4, 2020 through December 3, 2021, because Spectrum did not timely

terminate the Agreement, as Paragon received Spectrum’s Letter nine (9) days after the

deadline. Paragon demanded that Spectrum respond and fully comply with the terms of the

Agreement. A true and accurate copy of Paragon’s Response Letter is attached hereto as

Exhibit C and incorporated herein by reference.

        15.    Spectrum has not responded to the Response Letter, leaving Paragon no choice

but to file this action to pursue its rights under the Agreement.

        16.    Further, based on information and belief, Spectrum breached the Agreement by

providing access to the “Paragon Technology” to unauthorized individuals and/or entities, to

facilitate development of software to replace the Paragon System.

        17.    To the extent any person or entity, as-yet unknown, but identified in the caption

as John Does 1 through 5 or ABC Corporation, was or were aware of the Agreement and engaged

in conduct in concert with Spectrum to access the Paragon Technology, Paragon possesses

potential claims for tortious interference and theft of trade secrets against those individuals or

entities.

        18.    The Agreement further provides, at Article XV, Sections 3-4, as follows:

               3.    This Agreement shall be governed by and construed in
               accordance with the laws of the State of Michigan. . ..

               4.     If an y le ga l a cti on is ne ces s ary t o e nf orc e th e t erm s
               of this A gr eem e nt, the pre vail in g par ty s hall b e e ntitl e d to
               reas on abl e at torn e y ’s fees in ad diti on to a ny o th er reli ef
               to w hi ch th at par ty m ay be en titl ed. ”

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                                JU RI S DI CT I O N A N D VE N UE

       19.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 because the dispute is between two companies with principal places of business

in different states and the amount in controversy exceeds $75,000.00.

       20.     Venue is appropriate in this district, pursuant to 28 U.S.C. § 1391(b), as a

substantial part of the events that give rise to Paragon’s claims occurred in the judicial district

encompassed by the United States District Court for the Northern District of Ohio.

                                          COUNT ONE
                                       (Breach of Contract)

       21.     Plaintiff incorporates by reference the allegations contained in the above

paragraphs as if set forth fully herein.

       22.     Spectrum beached the Agreement by: (a) sending a termination Letter after the

termination deadline, and (b) based on information and belief, by failing to comply with the

Agreement’s provisions related to use and disclosure of Paragon Technology by providing

access or disclosing proprietary information related to the Paragon Technology to other

individuals or entities.

       23.     Paragon fully complied with its obligations under the Agreement.

       24.     As a direct result of Spectrum’s breach of the Agreement, Paragon has suffered

monetary damages in an amount not yet determined but in excess of $75,000.00, including

reasonable attorney’s fees, costs, prejudgment interest, and any other damages to which

Paragon is entitled in law or in equity.




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                                           COUNT TWO
                                       (Declaratory Judgment)

       25.       Paragon incorporates by reference the allegations contained in the above

paragraphs as if set forth fully herein.

       26.     There is a controversy between Paragon and Spectrum as to whether Spectrum must

comply with the terms of the Agreement, as Spectrum unsuccessfully attempted to terminate the

Agreement when it sent the Letter.

       27.     This dispute remains live and unresolved between the parties.

       28.     To resolve this live dispute, Paragon requires a Judgment from this Court declaring

that Spectrum is in breach of the Agreement and requiring Spectrum to fully comply with the

Agreement, including payment for the Paragon Software and Bar Code Products pursuant to the

Agreement.

                                     COUNT THREE
                (Breach of Implied Covenant of Good Faith and Fair Dealing)

       29.       Paragon incorporates by reference the allegations contained in the above

paragraphs as if set forth fully herein.

       30.       The Agreement includes an implied covenant of good faith and fair dealing.

       31.       Spectrum breached the implied covenant of good faith and fair dealing based on

the conduct set forth above.

       32.       As a result of Spectrum’s breach of the implied covenant of good faith and

fair dealing, Paragon has suffered monetary damages in an amount not yet determined but in

excess of $75,000.00, including reasonable attorney’s fees, costs, prejudgment interest, and

any other damages to which Paragon is entitled in law or in equity.


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                                         COUNT FOUR
                                       (Unjust Enrichment)

       33.     Paragon incorporates by reference the allegations contained in the above

paragraphs as if set forth fully herein.

       34.     Spectrum’s use of the Paragon System to develop technology for its personal

use resulted in Spectrum’s receipt of a benefit for which it has not paid Paragon.

       35.     Should Spectrum retain that benefit without fairly compensating Paragon, it

would be unjustly enriched to Paragon’s detriment.

       36.     Under the circumstances, Paragon has suffered monetary damages in an amount

not yet determined but in excess of $75,000.00, including reasonable attorney’s fees, costs,

prejudgment interest, and any other damages to which Paragon is entitled in law or in equity.

       WHEREFORE, Plaintiff Paragon demands judgment in its favor and against

Defendant Spectrum as follows:

       A.      On Count One, for judgment in an amount not yet determined but in excess of

$75,000.00, including reasonable attorney’s fees, costs, prejudgment interest, and any other

damages to which Paragon is entitled in law or in equity;

       B.      On Count Two, for an Order from the Court declaring that Spectrum is in breach

of the Agreement and requiring Spectrum to fully comply with the Agreement, including payment

for the Paragon Software and Bar Code Products.

       C.      On Count Three, for judgment in an amount not yet determined but in excess of

$75,000.00, including reasonable attorney’s fees, costs, prejudgment interest, and any other

damages to which Paragon is entitled in law or in equity;



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      D.       On Count Four, for judgment in an amount not yet determined but in excess of

$75,000.00, including reasonable attorney’s fees, costs, prejudgment interest, and any other

damages to which Paragon is entitled in law or in equity;

      E.       For such other and additional relief as this Court deems just and equitable.

                                               Respectfully submitted,

                                               /s/ Ezio A. Listati
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                                               Attorneys for Plaintiff Paragon Data Systems, Inc.




                                           JURY DEMAND


       Plaintiff Paragon Data Systems, Inc. demands a trial by jury on all issues so triable on its

Complaint to the maximum number of jurors allowed by law.




                                                         /s/ Ezio A. Listati
                                                         Ezio A. Listati, Esq. (#0046703)

                                                         One of the Attorneys for Plaintiff
                                                         Paragon Data Systems, Inc.




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